Case 4:19-cv-01449 Document 1-2 Filed on 04/19/19 in TXSD Page 1 of 7




                      Exhibit A

             Photographs of
        Anthony Vince Trade Dress
Case 4:19-cv-01449 Document 1-2 Filed on 04/19/19 in TXSD Page 2 of 7




                                 I
Case 4:19-cv-01449 Document 1-2 Filed on 04/19/19 in TXSD Page 3 of 7




                    RAP


                                                   ANL




                                                    I
                                                         ‘WI
      Case 4:19-cv-01449 Document 1-2 Filed on 04/19/19 in TXSD Page 4 of 7




ow'

      •
      •
                                                                 A
                                           •   _   -
Case 4:19-cv-01449 Document 1-2 Filed on 04/19/19 in TXSD Page 5 of 7




                                                                        7V-Of'
                                                                             °1




                                                •




                         r                                                 a




                                                              1




                     b
Case 4:19-cv-01449 Document 1-2 Filed on 04/19/19 in TXSD Page 6 of 7




                                              I IL__ _410



                                                             SWIM
                                                            WERE
Case 4:19-cv-01449 Document 1-2 Filed on 04/19/19 in TXSD Page 7 of 7




                                                            a si




                                                                        •




                                           ,
